Case 4:21-mj-00077-VLD Document 1 Filed 05/13/21 Page 1 of 11 PageID #: 1




                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION


  In the Matter of the Search Regarding:     No. _ _ _ _ _ _ _ _ _ __
                                                  4:21-mj-77

  21-081-04                                 REDACTED APPLICATION FOR
                                            SEARCH AND SEIZURE WARRANT



      I, Craig Scherer, being first duly sworn, hereby depose and state as follows:

       I am a Special Agent with the United States Department of Homeland
Security (DHS), Immigration and Customs Enforcement (ICE), Homeland
Security Investigations (HSI) in Sioux Falls, South Dakota, and have reason to
believe that upon the person and within the property fully described in
Attachment A, attached hereto and incorporated herein by reference, there is
now concealed certain information, namely: that fully described in Attachment
B, attached hereto and incorporated herein by reference, which I believe is
property constituting evidence of the commission of criminal offenses,
contraband, the fruits of crime, or things otherwise criminally possessed, or
property designed or intended for use or which is or has been used as the means
of committing criminal offenses, concerning violations of Title 21 U.S.C. §§
841(a)(l) and 846 (distribution of a controlled substances or conspiracy to
distribute or dispense a controlled substance).

      The facts to support a finding of Probable Cause are contained in my
Affidavit filed herewith.



                                      Craig cherer, Special Agent
                                      Homeland Security Investigations    -f"1
      Sworn to and subscribed before me, telephonically, on the
May, 2021, at Sioux Falls, South Dakota.
                                                                      IT    day of




                                     VERONICA L. DUFFY
                                     United States Magistrate Judge
      Case 4:21-mj-00077-VLD Document 1 Filed 05/13/21 Page 2 of 11 PageID #: 2



                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF SOUTH DAKOTA
                                         SOUTHERN DIVISION


          In the Matter of the Search Regarding:       No. _ 4:21-mj-77
                                                             _ _ _ _ _ _ _ _ __

          21-081-04                                   REDACTED SEARCH
                                                      AND SEIZURE WARRANT


      TO:      ANY AUTHORIZED LAW ENFORCEMENT OFFICER

            An application by a federal law enforcement officer or an attorney for the
      government requests the search of the person and property described in
      Attachment A, attached hereto and incorporated herein by reference.

             I find that the affidavit, or any recorded testimony, establish probable
      cause to search and seize the property described above for the information fully
      described in Attachment B, attached hereto and incorporated herein by
      reference, and that such search will reveal evidence of the violations of Title 21
      U.S.C. §§ 841(a)(l) and 846 (distribution of a controlled substances or conspiracy
      to distribute or dispense a controlled substance) and 18 U.S.C. § 1956 (money
      laundering).

       r'  YOU ARE COMMANDED to execute this warrant on or before
      0     - ';).7- 2()d--. \          (not to exceed 14 days)
     ~ in the daytime - 6:00 a.m. to 10:00 p.m.
     • at any time in the day or night as I find reasonable cause has been established.
           Unless delayed notice is authorized below, you must give a copy of the
     warrant and a receipt for the property taken to the person from whom, or from
     whose premises, the property was taken, or leave the copy and receipt at the
     place where the property was taken.

          The officer executing this warrant, or an officer present during the
     execution of the warrant, must prepare an inventory as required by law and
     promptly return this warrant and inventory to the undersigned Judge.


     5 - / 3- 2.f::)'-- •\      +1       cc--   ciT
                                ft )M at Sioux Falls, South Dakota
                             Cl\.   ·•   IJ O
     Date and Time Issued Teleph~nically       /' /.

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                                                      - - - - - - = - - - - - ----,L_---'='----1.:.£..._~'--rc.~
                                                      VERONICA L. DUFFY
                                                      United States Magistrate Judg




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     Case 4:21-mj-00077-VLD Document 1 Filed 05/13/21 Page 3 of 11 PageID #: 3



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DIVISION


  In the Matter of the Search Regarding:     No. _4:21-mj-77
                                                  _ _ _ _ _ _ _ _ _ __

  21-081-04                                  REDACTED RETURN



Date and time warrant executed:

Copy of warrant and inventory left with:

Inventory made in the presence of:

Inventory of the property taken and name of any person(s) seized (attach additional sheets,
if necessary):




                                     CERTIFICATION
I declare under penalty of perjury that this inventory is correct and was returned along
with the original warrant to the designated judge.


                                     Craig Scherer, Special Agent
                                     Homeland Security Investigations
Case 4:21-mj-00077-VLD Document 1 Filed 05/13/21 Page 4 of 11 PageID #: 4




                     UNITED STATES DISTRICT COURT
                      DISTRICT OF SOUTH DAKOTA
                          SOUTHERN DIVISION


 In the Matter of the Search Regarding   No. _4:21-mj-77
                                              _ _ _ _ _ _ _ __

 21-081-04                               REDACTED ATTACHMENT A




                           Property to Be Searched
  1. The cellular telephone assigned call number                     the "Target
     Telephone," whose service provider is Cellco Partnership, dba Verizon
     Wireless, Inc., a wireless telephone service provider, headquartered at 180
     Washington Valley Road, Bedminster, NJ 07921.
  2. Information about the location of the Target Telephone that is within the
     possession, custody, or control of Cellco Partnership, dba Verizon
     Wireless, Inc., including information about the location of the cellular
     telephone if it is subsequently assigned a different call number.
Case 4:21-mj-00077-VLD Document 1 Filed 05/13/21 Page 5 of 11 PageID #: 5




                    UNITED STATES DISTRICT COURT
                     DISTRICT OF SOUTH DAKOTA
                         SOUTHERN DIVISION


 In the Matter of the Search Regarding   No. _  _ _ _ _ _ _ __
                                              4:21-mj-77

 21-081-04                               REDACTED ATTACHMENT B



                       Particular Things to be Seized
Case 4:21-mj-00077-VLD Document 1 Filed 05/13/21 Page 6 of 11 PageID #: 6




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                            SOUTHERN DIVISION


  In the Matter of the Search Regarding       No. _4:21-mj-77
                                                    _ _ _ _ _ _ _ __

  21-081-04                                   REDACTED AFFIDAVIT IN
                                              SUPPORT OF AN APPLICATION
                                              FOR A SEARCH WARRANT



      I, Special Agent Craig Scherer, being first duly sworn, hereby depose and
state as follows:

                 INTRODUCTION AND AGENT BACKGROUND

      1.    I make this affidavit in support of an application for a search warrant
under Federal Rule of Criminal Procedure 41 and 18 U . S . ~ ( A ) for
information about the location of the cellular t e l e p h o n e , _ , fully
described in Attachment A, attached hereto and incorporated herein by reference
(the "Target Telephone"), whose service provider is Cellco Partnership, dba
Verizon Wireless, Inc., a wireless telephone service provider, headquartered at
180 Washington Valley Road, Bedminster, NJ 07921. The location information
to be seized is described herein and in Attachment B, attached hereto and
incorporated herein by reference.

      2.     I am a Special Agent with the Department of Homeland Security
(DHS), Immigration and Customs Enforcement (ICE), Homeland Security
Investigations (HSI) in Sioux Falls, South Dakota and have been duly employed
in this position since December 2003. I am a graduate of the Criminal
Investigator Training Program and ICE Special Agent Training at the Federal Law
Enforcement Training Center.

       3.    As a Special Agent, one of my responsibilities is investigating drug
trafficking organizations and associated money laundering methods. I have
assisted with numerous investigations into violations of the Federal Controlled
Substances Act and I am familiar with the provisions of Titles 21 and 18 of the
United States Code. I have been working drug trafficking cases since 2005.

       4.  The facts in this affidavit come from my personal observations, my
training and experience, and information obtained from other agents and
witnesses. This affidavit is intended to show merely that there is sufficient

                                        [1]
Case 4:21-mj-00077-VLD Document 1 Filed 05/13/21 Page 7 of 11 PageID #: 7




probable cause for the requested warrant and does not set forth all of my
knowledge about this matter.

       5.    Based on the facts set forth in this affidavit, I believe there is
probable cause to believe that violations of 21 U.S.C. §§ 841(a)(l) and 846 have
been committed, are being committed, and will be committed by
_ , and others. There is also probable cause to believe that the location
information described in Attachment B will constitute evidence of these criminal
violations and will lead to the identification of individuals who are engaged in the
commission of these offenses.

                               PROBABLE CAUSE




                                        [2]
Case 4:21-mj-00077-VLD Document 1 Filed 05/13/21 Page 8 of 11 PageID #: 8




                                  [3]
Case 4:21-mj-00077-VLD Document 1 Filed 05/13/21 Page 9 of 11 PageID #: 9




                                  [4]
Case 4:21-mj-00077-VLD Document 1 Filed 05/13/21 Page 10 of 11 PageID #: 10




                          AUTHORIZATION REQUEST

       24. Based on the foregoing, I request that the Court issue the proposed
 search warrant, pursuant to Federal Rule of Criminal Procedure 41 and 18
 U.S.C. § 2703(c).

       25. I further request that the Court direct the Service Provider to
disclose to the government any information described in Attachment A that is
within its possession, custody, or control. I also request that the Court direct
the Service Provider to furnish the government all information, facilities, and
technical assistance necessary to accomplish the collection of the information
described in Attachment A unobtrusively and with a minimum of interference
with its services, including by initiating a signal to determine the location of the
Target Telephone on its network or with such other reference points as may be
reasonably available, and at such intervals and times directed by the
government.      The government will compensate the service provider for
reasonable expenses incurred in furnishing such facilities or assistance.

       26. I further request that the information described in Attachment A be
provided for the time period starting the date of issuance of the search warrant,
until 30 days from the date of issuance of the search warrant.

      27. I further request that the Court authorize execution of the warrant
at any time of day or night, owing to the potential need to locate the Target
Telephone outside of daytime hours.


                                              Cv~;-~---·~_ __
                                      ~ g e n t Craig Scherer
                                      Homeland Security Investigations


                                        [5]
Case 4:21-mj-00077-VLD Document 1 Filed 05/13/21 Page 11 of 11 PageID #: 11




       Subscribed and sworn to me, telephonically, on the   /3
                                                              r    day of May,
 2021, at Sioux Falls, South Dakota.



                                   VERONICA L. DUFFY
                                   United States Magistrate Judg




                                     [6]
